Case 4:23-cr-00333-O Document 437 Filed 03/21/24 Page 1of2 PagelD 1237

AO 83 (Rev. 66/09} Summons in a Criminal Case

UNITED STATES DISTRICT COURT

for the

Northern District of Texas

United States of America
Vv.

Case No. 4:23-CR-333-O (11)
LITA D'ANN MILLS

Defendant

Nee! nee Seer tee ee Nee eel”

SUMMONS IN A CRIMINAL CASE

YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

{ Indictment F] Superseding Indictment 0 Information [ Superseding Information CJ Complaint
Cl Probation Violation Petition 7 Supervised Release Violation Petition @ Violation Notice (7 Order of Court

: United States District Court
Place: 501 W. 10th Street Courtroom No.: 608

Fort Worth, TX 76102

Date and Time: 03/26/2024 2:06 pm

This offense is briefly described as follows:
Violation of Conditions of pretrial release

Date: 03/08/2024

Ysoning officer's signature

reton, United States Magistrate Judge

/ Printed name and title

I declare under penalty of perjury that I] have:

PK Executed and returned this summons [ Returned this summons unexecuted

Date: 3 - L\ = bef (4 In >
erver's signature
be, Langy, Us, Moogsin Shier

Printed name and title

Case 4:23-cr-00333-O Document 437 Filed 03/21/24 Page 2of2 PagelD 1238
AO 83 (Rey, 06/09) Summons in a Criminal Case (Page 2)

Case No, 4:23-CR-333-0 (11)

This second page contains personal identifiers and therefore should
not be filed in court with the summons unless under seal.
(Not for Public Disclosure)

INFORMATION FOR SERVICE
Name of defendant/offender:

Last known residence:

Usual place of abode (ifdiferent from residence address):

If the defendant is an organization, name(s) and address(es) of officer(s) or agent(s) legally authorized to receive service of
process:

If the defendant is an organization, last known address within the district or principal place of business elsewhere in the
United States:

PROOF OF SERVICE

This summons was received by me on (date) 2 / Gf} 24
if

wi personally served the summons on this defendant Ly 4 ¢. M mf i % at

place) S641 boost LOTR SS, Frew Woah (dare) 2 {21) 24 Sor

CG On (date) I left the summons at the individual’s residence or usual place of abode
with (ame) , a person of suitable age and discretion who resides

there, and I mailed a copy to the individual’s last known address; or

[1 I delivered a copy of the summons to (name of individual) ,

who is authorized to receive service of process on behalf of (same of erganization)
on (date) and I mailed a copy to

the organizations’s last known address within the district or to its principal place of business elsewhere in the
United States; or

CJ The summons was returned unexecuted because:

I declare under penalty of perjury that this information is true.

Date returned: A [ a UY a4 ah lo

Server's signature

Beth bong, US Pcobetiba Oflu

Printed name and title

Remarks:

